   Case 2:23-cv-00698-MHT-CWB Document 7 Filed 12/19/23 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


ELBERT BALLARD,                     )
                                    )
       Plaintiff,                   )
                                    )         CIVIL ACTION NO.
       v.                           )           2:23cv698-MHT
                                    )                (WO)
MEDICAL STAFF AT HAMILTON           )
AGED & INFIRMED,                    )
                                    )
       Defendant.                   )

                            OPINION AND ORDER

       This    lawsuit       is    before     the       court     on   the

recommendation of the United States Magistrate Judge

that    the    case   be    transferred     to    the    United    States

District      Court   for    the   Northern      District   of    Alabama

pursuant to 28 U.S.C. § 1406.               There are no objections

to the recommendation.             After an independent and de

novo review of the record, the court concludes that the

magistrate judge’s recommendation should be adopted.

       Accordingly, it is ORDERED as follows:

       (1) The magistrate judge's recommendation (Doc. 4)

is adopted.
     Case 2:23-cv-00698-MHT-CWB Document 7 Filed 12/19/23 Page 2 of 2




     (2) This case is transferred to the United States

District    Court    for   the    Northern       District   of    Alabama

pursuant to 28 U.S.C. § 1406.

     (3) The motions to transfer documents (Doc. 5 and

Doc. 6) are denied.

     (4) The application to proceed without prepayment

of   fees    (Doc.    2)    is   left     for     resolution      by    the

transferee court.

     The    clerk    of    the    court     is    DIRECTED       to    take

appropriate steps to effect the transfer.

     This case is closed in this court.

     DONE, this the 19th day of December, 2023.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE




                                    2
